
DONOVAN, J., dissenting:
{¶ 14} Gause's prior adjudication of delinquency which can now be utilized as an element of the offense to establish weapons while under disability, suffers from the same constitutional infirmity as an enhancement. At the heart of the analysis in Hand is the lack of a right to a jury determination of the predicate conduct. In this case, status (disability) creates the offense, in Hand status enhances punishment.
{¶ 15} I agree with Judge Cunningham's dissent in Carnes , it is illogical to conclude enhancement of punishment is unconstitutional, but prosecution where otherwise there would be no indictment is not. In all other scenarios, the status of disability is conduct which occurs as an adult. The juvenile vs. adult conduct distinction is critical to the constitutional analysis, particularly under the Ohio Constitution as noted in Hand .
